       Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 1 of 17



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

WILHEN HILL BARRIENTOS,                *
MARGARITO VELAZQUEZ-GALICIA,
and SHOAIB AHMED, individually         *
and on behalf of all others
similarly situated,                    *

      Plaintiffs,                      *        CASE NO. 4:18-CV-70 (CDL)

vs.                                    *

CORECIVIC, INC.,                       *

      Defendant.                       *


                                   O R D E R

      Stewart    Detention   Center       (“Stewart”)     is   an    immigration

detention    facility   in    Stewart      County,    Georgia       operated   by

CoreCivic,      Inc.     Plaintiffs        Wilhen    Barrientos,       Margarito

Velazquez-Galicia, and Shoaib Ahmed are current and former Stewart

detainees.   They bring this class action, asserting claims against

CoreCivic under the Trafficking Victims Protection Act (“TVPA”),

as amended, 18 U.S.C. §§ 1589, 1594-95, and under Georgia law.

They allege that CoreCivic operates a “deprivation scheme” in which

it forces detainees to work through threats of physical violence,

solitary    confinement,     and   deprivation       of   basic     necessities.

CoreCivic moved to dismiss the action (ECF No. 30).                     For the

following reasons, CoreCivic’s motion to dismiss is denied.




                                      1
         Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 2 of 17



                                   STANDARD

     “To survive a motion to dismiss” under Federal Rule of Civil

Procedure 12(b)(6), “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’”         Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)).       The complaint must include enough factual allegations

“to raise a right to relief above the speculative level.” Twombly,

550 U.S. at 555.        In other words, the factual allegations must

“raise     a   reasonable   expectation     that    discovery    will     reveal

evidence of” the plaintiff’s claims.               Id. at 556.     But “Rule

12(b)(6) does not permit dismissal of a well-pleaded complaint

simply because ‘it strikes a savvy judge that actual proof of those

facts is improbable.’”        Watts v. Fla. Int’l Univ., 495 F.3d 1289,

1295 (11th Cir. 2007) (quoting Twombly, 550 U.S. at 556).

                            FACTUAL ALLEGATIONS

     The Court accepts the allegations in Plaintiffs’ Complaint as

true for purposes of the pending motion.             Plaintiffs allege the

following:

I.   Conditions in Stewart Detention Center

     Stewart County, Georgia has an intergovernmental services

agreement with United States Immigration and Custom Enforcement to

house immigration detainees like Plaintiffs.              Compl. ¶ 13, ECF

No. 1.      Stewart County contracts with CoreCivic, a for-profit



                                       2
       Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 3 of 17



corporation, to operate the Stewart Detention Center (“Stewart”).

Id. ¶ 12.   Stewart has nearly 2,000 beds and is one of the largest

immigration detention centers in the nation.          Id. ¶ 24.

      Plaintiffs    allege    that    the   conditions    at   Stewart    are

deplorable.   The bathrooms are in poor condition.         Id. ¶ 41.     Some

showers have no hot water, while other showers have no cold water.

Id.   The open dormitories house 66 people in bunk beds with no

privacy.    Id. ¶ 56.    Each dormitory has one bathroom with several

sinks and toilets.      Id.   The showers in the shared bathroom do not

have temperature control.            Id.    Conflict and violence occur

frequently in the open dormitories.          Id.   Detainees refer to the

open dormitories as the “Chicken Coop” because of the unsanitary

conditions and overcrowding.         Id.

      CoreCivic does not adequately furnish detainees with basic

hygiene products like toilet paper, soap, lotion, or toothpaste.

Id. ¶ 42.     Instead, CoreCivic instructs detainees to buy these

basic necessities from the commissary.              Id.    CoreCivic also

provides no means for detainees to contact people outside Stewart

other than expensive phone cards available for purchase at the

commissary.     Id. ¶¶ 45-47.        The commissary is the only place

detainees can purchase hygiene products, clothes, or phone cards.

Id. ¶ 37. Detainees must use funds from their inmate fund accounts

to make purchases.      Id. ¶ 38.     Detainees therefore rely on access




                                       3
        Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 4 of 17



to the commissary to purchase basic necessities and phone cards.

Id. ¶ 58.

II.    Stewart’s “Voluntary Work Program”

       CoreCivic operates a “voluntary work program” at Stewart.

Id. ¶ 27.    CoreCivic assigns program participants to various jobs

in the facility.         Id. ¶ 29.      Responsibilities include scrubbing

bathrooms, cleaning the medical center, preparing meals, washing

detainees’ laundry, and cleaning floors.               Id. ¶ 30.       CoreCivic

generally pays detainees in the program between $1 and $4 per day.

Id. ¶ 31.     CoreCivic deposits detainees’ wages into their inmate

fund   accounts     so     the   detainees   may    purchase   items    at   the

commissary.     Id. ¶ 38.

       Detainees in the voluntary work program are spared from some

of Stewart’s more unfavorable conditions.              Program participants

are not housed in the Chicken Coop.            Instead, they are provided

more favorable living quarters with private two-person cells, a

shared common area, a bathroom shared with only one other cellmate,

and a shower with temperature control.                Id. ¶ 55.        But when

participants refuse to work, CoreCivic threatens to transfer them

back to the Chicken Coop, id. ¶ 54, revoke their access to the

commissary, id. ¶ 57, transfer them to solitary confinement, id.

¶ 59, or initiate criminal proceedings against them, id. ¶ 50.

       Plaintiffs    allege      that    CoreCivic    maintains    deplorable

conditions    as    part    of   a   “deprivation    scheme”   that    provides


                                         4
         Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 5 of 17



CoreCivic with a cheap supply of labor to operate the facility,

thereby enabling CoreCivic to increase its profits.              Id. ¶¶ 1-2,

59-60.     According to Plaintiffs, this scheme operates as follows:

(1) CoreCivic deprives detainees of basic necessities, including

toothpaste, soap, toilet paper, privacy, safety, and contact with

loved ones; (2) detainees must participate in the voluntary work

program to move to humane accommodations and to earn money to

purchase necessities at the commissary; and (3) once detainees are

in the program, CoreCivic threatens to harm or actually harms those

who refuse to work.      Id. ¶ 1.    Therefore, according to Plaintiffs,

participation in the “voluntary” work program is “not ‘voluntary’

in any meaningful sense.”        Id. ¶ 36.

III. Named Plaintiffs

     Barrientos, Velazques-Galicia, and Ahmed either are working

or previously worked as kitchen workers in the program. Id. ¶¶ 62,

78, 86.     Specifically, Barrientos alleges CoreCivic threatened to

transfer him to the Chicken Coop, id. ¶¶ 69-70, revoke his access

to the commissary, id. ¶ 71, and put him in solitary confinement,

id. ¶ 72, when he refused to work or when CoreCivic believed he

was organizing a work stoppage.        Velazquez-Galicia alleges that he

witnessed CoreCivic threaten to transfer detainees who decline to

work from the preferable two-person cells to the Chicken Coop.

Id. ¶ 82.      Ahmed alleges that CoreCivic threatened to put him in

solitary confinement if he stopped working.             Id. ¶ 89.    He also


                                       5
         Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 6 of 17



alleges that CoreCivic actually put him in solitary confinement

for ten days for threatening a work stoppage after he had not been

paid.      Id. ¶ 90.     All three allege that they participate (or

participated) in the work program because of CoreCivic’s threats

of harm and because of CoreCivic’s deprivation scheme.            Id. ¶¶ 75,

83, 91.      They bring this action on behalf of themselves and all

others    similarly    situated.      Plaintiffs’   proposed    classes     are

limited to detainees who actually participate or participated in

the voluntary work program.         Id.

                                   DISCUSSION

     Plaintiffs assert two categories of claims against CoreCivic:

(1) civil liability for violations of the TVPA and (2) claims for

unjust enrichment under Georgia law.            CoreCivic moved to dismiss

all of Plaintiffs’ claims.         For the following reasons, CoreCivic’s

motion is denied.

I.   TVPA Claims

     As to Plaintiffs’ TVPA claims, the question presented is

whether     Plaintiffs    have    alleged   sufficient    facts    in     their

Complaint, which if ultimately proven to be true, could subject

CoreCivic to civil liability under the TVPA.           The TVPA provides a

private cause of action against anyone:




                                       6
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 7 of 17



     (a)   Who[] knowingly provides or obtains the labor or
           services of a person by any one of, or by any combination
           of, the following means—

           (1)   by means of force, threats of force, physical
                 restraint, or threats of physical restraint to that
                 person or another person;

           (2)   by means of serious harm or threats of serious harm
                 to that person or another person;

           (3)   by means of the abuse or threatened abuse of law or
                 legal process; or

           (4)   by means of any scheme . . . intended to cause          the
                 person to believe that, if that person did              not
                 perform such labor or services, that person              or
                 another person would suffer serious harm                 or
                 physical restraint[.]

18 U.S.C. § 1589(a). The TVPA defines “serious harm” as “any harm,

whether    physical    or   nonphysical,     including     psychological,

financial, or reputational harm, that is sufficiently serious,

under all the surrounding circumstances, to compel a reasonable

person of the same background and in the same circumstances to

perform or to continue performing labor or services in order to

avoid incurring that harm.”       Id. § 1589(c)(2).

     CoreCivic contends that Plaintiffs fail to state a claim under

the TVPA because Congress did not intend the statute to apply to

lawfully held detainees.       In the alternative, CoreCivic argues

that Plaintiffs failed to allege sufficient facts to state a claim

under the “abuse of legal process” prong.               Id. § 1589(a)(3).

Finally,   CoreCivic   contends    that   Plaintiffs’    TVPA   claims   for




                                    7
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 8 of 17



conduct prior to December 23, 2008 are barred.                   These arguments

are addressed in turn.

     A.     Plaintiffs Stated Claims under the Plain Language of the
            TVPA

     CoreCivic argues that the TVPA is intended to apply narrowly

to forced labor in the human trafficking context and that applying

it to detainee work programs is “absurd” and contrary to the

intentions of Congress.              CoreCivic’s argument has superficial

appeal and some support from the TVPA’s legislative history.                       But

it   ignores    the    plain     language       of    the   statute.       It     also

misunderstands       “the     absurdity       doctrine,”    which   is    a     narrow

exception      to     the      fundamental       principle       that     statutory

interpretation must be anchored to the plain language of the

statute.

     CoreCivic       points    to    evidence    of   congressional       intent    in

support of its position.            See 22 U.S.C. § 7101 (setting forth the

congressional       purposes    and    findings      regarding   the     TVPA);    id.

§ 7101(a) (“The purposes of this chapter are to combat trafficking

in persons, a contemporary manifestation of slavery whose victims

are predominantly women and children, to ensure just and effective

punishment of traffickers, and to protect their victims.”).                        But

when interpreting a statute, the Court must presume that Congress

says what it means and means what it says.                  Conn. Nat’l Bank v.

Germain, 503 U.S. 249, 253-54 (1992).                 If Congress intended the




                                          8
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 9 of 17



TVPA to apply narrowly to human traffickers or human trafficking-

related labor only, it could have easily limited § 1589 or § 1595

to those circumstances by saying so in those sections of the Act.

Congress placed no such restriction in the statute but chose

instead to broadly prohibit “whoever” from “obtain[ing] labor” by

any of the proscribed means.     18 U.S.C. § 1589(a).     The Court thus

declines to read an implied exclusion for lawfully confined victims

into the statute.    Of course, the lawful force necessary to detain

the detainees cannot be the source for the TVPA claims.                But

Plaintiffs allege that although they may be lawfully detained,

they cannot be forced to labor in violation of the TVPA.1

     To the extent CoreCivic relies on the “absurdity doctrine” as

an exception to the fundamental principle that courts must apply

statutes as written, the Court finds that this exception does not

apply here.    The “absurdity doctrine” can be traced back to the

English common law.    As Blackstone explained in his Commentaries,

“[W]here   words    bear . . . a    very    absurd   signification,     if

literally understood, we must a little deviate from the received

sense of them.”     William Blackstone, Commentaries on the Laws of

England § 2, at 60 (4th ed. 1770).         As understood in the English

common law: “[I]n construing . . . all written instruments, the



1 CoreCivic points to other textual “clues” that bolster its position
that the statute did not intend to apply to immigrant detainees. But
these textual clues from other statutes do nothing to undermine the plain
language of the TVPA.


                                    9
        Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 10 of 17



grammatical and ordinary sense of the words is to be adhered to,

unless that would lead to some absurdity, or some repugnance or

inconsistency with the rest of the instrument, in which case the

grammatical and ordinary sense of the words may be modified so as

to avoid that absurdity and inconsistency, but no farther.”                              Grey

v. Pearson, (1857) 10 Eng. Rep. 1216, 1234; 6 H.L. Cas. 61, 106

(Lord Wensleydale).

     The absurdity doctrine, however, does not authorize “judicial

revision of public and private texts to make them (in the judge’s

view) more reasonable.”            Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 237 (2012).                           To avoid such

judicial    mischief,        the   doctrine     has     two      limiting      conditions:

(1) ”[t]he     absurdity       must      consist   of       a    disposition      that    no

reasonable person could intend;” and (2) ”[t]he absurdity must be

reparable by changing or supplying a particular word or phrase

whose     inclusion     or    omission      was    obviously           a     technical    or

ministerial error.” Id. at 237-38. The drafter’s failure to fully

appreciate the effect of a plainly written statute does not bring

it within the absurdity doctrine.               Id. at 238.

     CoreCivic points to no particular word or phrase in the TVPA

that it claims must be corrected.                  Instead, it argues that the

statute    does   not   apply       to   persons      who       are   held    lawfully    as

detainees by the government.               It relies upon no language in the

statute for this broad assertion.               It simply points to legislative


                                           10
     Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 11 of 17



history outlining the motivation for the enactment of the statute.

Thus, it asks the Court rewrite the statute by effectively adding

a provision stating, “this statute shall not apply to anyone who

uses labor of detainees who are lawfully detained pursuant to a

contract with a governmental agency.”        The absurdity doctrine does

not authorize the Court to re-draft a statute.        CoreCivic may find

it absurd that Congress drafted the TVPA in such a way that it

theoretically reaches the conduct alleged here.               And one can

speculate that Congress did not foresee the application of its

plain language to these circumstances.           But this Court cannot

rewrite statutes to avoid what it may perceive to be an unintended

consequence or even an absurd public policy result.           Congress is

alone responsible for any such absurdities and lack of legislative

foresight. Moreover, the Constitution gives it the exclusive power

to fix them.

     The Court’s ruling today that Plaintiffs have stated a claim

for relief under the TVPA certainly does not mean they will

ultimately   prevail.    They   must    of   course   still   prove    their

allegations.   And in doing so, they will be required to point to

evidence that supports the reasonable conclusion that CoreCivic

threatened them with a serious risk of harm if they did not persist

as laborers.   That burden will be a heavy one.       But they have today




                                   11
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 12 of 17



plausibly stated such allegations to overcome CoreCivic’s motion

to dismiss.2

      B.   Plaintiffs Alleged Sufficient Facts to State a Claim
           under § 1589(a)(3)

      CoreCivic alternatively contends that Plaintiffs have not

plausibly alleged that CoreCivic obtained their labor through

actual or threatened abuse of the legal process under § 1589(a)(3).

Under the statute, “[t]he term ‘abuse or threatened abuse of the

legal process’ means the use or threatened use of a law or legal

process, whether administrative, civil, or criminal, in any manner

or for any purpose for which the law was not designed, in order to

exert pressure on another person to cause that person to take some

action     or      refrain       from       taking      some      action.”

18 U.S.C. § 1589(c)(1).      According to the Complaint, CoreCivic

provided each detainee with a “detainee orientation handbook,”

which explains that refusing to work or organizing a work stoppage

is punishable by initiation of criminal proceedings.           Compl. ¶ 50.

And   Plaintiffs   clearly   allege      that   CoreCivic   threatened   to



2
  CoreCivic does not argue that Plaintiffs have failed to allege a
sufficient threat of harm under the TVPA. Thus, the Court leaves for
another day whether Plaintiffs must prove that the conditions in the
Chicken Coop do not meet the constitutional conditions of confinement
standard in order to show a serious threat of harm for TVPA purposes.
For prison conditions of confinement claims, deprivations must be
objectively and sufficiently serious or extreme such that they constitute
a denial of the “minimal civilized measure of life’s necessities.”
Thomas v. Bryant, 614 F.3d 1288, 1304 (11th Cir. 2010). The same standard
applies in the pretrial detainee context.      Keith v. Dekalb Cty., 749
F.3d 1034, 1044 n.35 (11th Cir. 2014).


                                    12
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 13 of 17



initiate criminal proceedings against detainees when detainees

refused to work.       Id. ¶ 111.    If discovery reveals that CoreCivic

made no such threats, then summary judgment will be proper.                    But

at this stage, Plaintiffs have plausibly alleged a claim under the

“legal process” prong of the TVPA.

      C.     Plaintiffs Stated      TVPA    Claims   for   Conduct     Prior    to
             December 23, 2008

      When Congress first enacted the TVPA in 2000, it did not

authorize    a    private   right    of    action    for   violation    of     its

provisions.      See generally Victims of Trafficking and Violence

Protection Act of 2000, Pub. L. No. 106-386, 114 Stat. 1464.

Congress amended the TVPA in 2003 to provide a private right of

action against “perpetrators” of TVPA violations.                Trafficking

Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-

193, 117 Stat. 2875.        Congress amended the TVPA again in December

2008 to expand the class of individuals against whom a private

right of action could be brought.            After the 2008 amendments, a

plaintiff could bring a TVPA claim not only against “perpetrators,”

but   also   against    “whoever    knowingly   benefits”     financially       or

otherwise from a scheme they knew or should have known violated

the TVPA.        William Wilberforce Trafficking Victims Protection

Reauthorization Act of 2008, Pub. L. No. 110-457, 122 Stat. 5044.

      CoreCivic characterizes Plaintiffs’ TVPA claims as arising

exclusively under this “financial benefit” prong of the TVPA’s




                                      13
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 14 of 17



private    right    of    action   provision.     See   18 U.S.C. § 1595(a).

Therefore, it contends that Plaintiffs cannot state a TVPA claim

for conduct prior to December 23, 2008 (the date Congress expanded

the TVPA’s private right of action).              But Plaintiffs’ Complaint

arguably alleges a cause of action against CoreCivic as both a

perpetrator and as a financial beneficiary.                 See Compl. ¶ 104

(“Plaintiffs        are       authorized     to     bring     this     [TVPA]

claim . . . because CoreCivic violated the forced labor provisions

of [§ 1589].”); id. ¶ 105 (“Plaintiffs . . . also are authorized

to   bring   this    [TVPA]    claim . . . because      CoreCivic    knowingly

benefitted financially” from the deprivation scheme                  (emphasis

added)).     Therefore, to the extent Plaintiffs’ TVPA claim is

premised on CoreCivic actually perpetrating TVPA violations as

opposed to only benefitting financially from violations, this

claim may encompass conduct as early as 2003, subject to the

applicable statute of limitations.          But CoreCivic cannot be liable

for only knowingly benefitting from the deprivation scheme until

after December 23, 2008.3




3
  The Court notes that Plaintiffs’ proposed TVPA class is defined as all
participants in the voluntary work program “within the past ten years
up to the date the class is certified.” Compl. ¶ 94(a). Plaintiffs
filed this action on April 17, 2018. And the Court has not yet certified
the class. Therefore, unless the class is certified before December 23
of this year, Plaintiffs’ TVPA claims will effectively be limited to
conduct occurring after the 2008 amendments anyway.


                                       14
      Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 15 of 17



II.   Unjust Enrichment Claims

      Plaintiffs       assert    claims     under      Georgia    law    for   unjust

enrichment.     “The concept of unjust enrichment in law is premised

upon the principle that a party cannot induce, accept, or encourage

another to furnish or render something of value to such party and

avoid payment for the value received.”                     Vernon v. Assurance

Forensic Accounting, LLC, 774 S.E.2d 197, 212 (Ga. Ct. App. 2015)

(quoting Jones v. White, 717 S.E.2d322, 328 (Ga. Ct. App. 2011))

(explaining     that    for     purposes    of   an    unjust    enrichment    claim

conferring a “benefit” means providing “any form of advantage”

even if it was not “earned”); see also Reynolds v. CB&T, 805 S.E.2d

472, 478-79 (Ga. Ct. App. 2017)                  (reversing grant of summary

judgment on unjust enrichment claim based upon lender inducing

borrower   to    finish       construction        of    home     and    nevertheless

foreclosing on the home when construction complete).                        Although

most unjust enrichment claims are based on the party being induced

into some transaction with a reasonable expectation of receiving

something in return, the Georgia courts have recognized that an

unjust enrichment claim can be based on allegations of coercion.

See Estate of Crook v. Foster, 775 S.E.2d 286, 287-90 (Ga. Ct.

App. 2015) (reversing trial court’s grant of summary judgment on

unjust enrichment claim where plaintiff claimed defendant coerced

her into putting defendant’s name on deed).




                                           15
     Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 16 of 17



     Here,    Plaintiffs     allege   that      CoreCivic   coerced      them   to

provide labor to CoreCivic, that CoreCivic benefitted from that

labor, and that CoreCivic should compensate Plaintiffs for the

benefit they conferred on CoreCivic because allowing CoreCivic to

keep that benefit would be unjust.               The Court cannot say that

Georgia would not recognize an unjust enrichment claim under these

circumstances.        Accordingly,      CoreCivic’s     motion      to   dismiss

Plaintiffs’ unjust enrichment claims is denied.

                                CONCLUSION

     Based on the foregoing, CoreCivic’s motion to dismiss (ECF

No. 30) is denied.

                   CERTIFICATE FOR IMMEDIATE APPEAL

     Whether    the   TVPA    applies      to   work   programs     in   federal

immigration detention facilities operated by private for-profit

contractors is a controlling question of law as to which there is

substantial ground for difference of opinion.                 The Court today

finds that the TVPA does apply under the circumstances alleged in

Plaintiffs’    Complaint.      This     determination       thus   allows   this

litigation to proceed which will not only involve extensive fact

discovery but also class certification proceedings. If the Court’s

conclusion is wrong and the primary (maybe only) basis for federal

jurisdiction is removed, these subsequent proceedings will have

been for naught.      Therefore, an immediate appeal may materially

advance the ultimate termination of the litigation.                Of course, if


                                      16
     Case 4:18-cv-00070-CDL Document 38 Filed 08/17/18 Page 17 of 17



today’s order is affirmed, these proceedings will have arguably

been unnecessarily delayed.      But given the nature of the issue to

be decided on appeal and the implications of today’s ruling, the

undersigned   is   of   the   opinion   that   an   immediate   appeal   is

appropriate pursuant to 28 U.S.C. § 1292(b).          All proceedings in

this Court are stayed pending resolution of any application for

interlocutory appeal.

    IT IS SO ORDERED, this 17th day of August, 2018.

                                        S/Clay D. Land
                                        CLAY D. LAND
                                        CHIEF U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




                                   17
